                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,

v.                                                              File No: 1:21-cr-40

                                                                HON. ROBERT J. JONKER
CHRISTOPHER ALLAN BODEN,
LEESA BETH VOGT and
DANIEL REYNOLD DEJAGER,

                  Defendants.
                                            /


     ORDER GRANTING JOINT UNOPPOSED ENDS OF JUSTICE CONTINUANCE

        Before the Court is the defendants’ motion for ends of justice continuance of the final pretrial

presently scheduled for August 27, 2021, and trial scheduled for September 21, 2021. ECF No. 39.

The basis of the defendants’ motion is to allow for sufficient time to brief and resolve defendants’

joint motion to dismiss certain counts of the Indictment. Counsel for the government does not object

to the request.

        The Court finds that the ends of justice served by the granting of a continuance outweighs

the best interest of the public and the defendant in a speedy trial.

        NOW THEREFORE, pursuant to 18 U.S.C. §3161(h)(7)(B)(iv), an ends of justice

continuance is hereby entered. The final pretrial conference is rescheduled to October 18, 2021 at

4:00 p.m. All motions shall be filed on or before August 23, 2021. Jury trial is rescheduled to

November 2, 2021 at 8:30 a.m.


Date:    July 27, 2021                          /s/ Robert J. Jonker
                                                ROBERT J. JONKER
                                                CHIEF UNITED STATES DISTRICT JUDGE
